           Case 3:25-cv-01145-JAG
       Case:15-02878-MCF7   Doc#:18 Document    1-4 Entered:08/05/15
                                      Filed:08/05/15  Filed 03/12/25 08:46:52
                                                                     Page 1 of 2Desc:
                         Discharge of Chapter 7 Debtors Page 1 of 2
                             IN THE UNITED STATES BANKRUPTCY COURT
                                         District of Puerto Rico



IN RE:                                                       Case No. 15−02878 MCF
CARLOS ALBERTO GONZALEZ RIVERA
                                                             Chapter 7

xxx−xx−0072

                                                             FILED & ENTERED ON 8/5/15
                       Debtor(s)



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,
IT IS SO ORDERED. The debtor is granted a discharge under section 727 of title 11, United States Code, (the
Bankruptcy Code).

In San Juan, Puerto Rico, this Wednesday, August 5, 2015 .



                                                                 BY THE COURT
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                                                                     Page 2 of 2Desc:
                         Discharge of Chapter 7 Debtors Page 2 of 2



                   EXPLANATION OF BANKRUPTCY DISCHARGE IN A CHAPTER 7 CASE


This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it does not
determine how much money, if any, the trustee will pay to creditors.


Collection of Discharged Debts Prohibited

The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property:] [There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against the
debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but not all,
types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was begun
under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts owed
when the bankruptcy case was converted.)

Debts that are Not Discharged

Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:


     a. Debts for most taxes;
     b. Debts that are in the nature of alimony, maintenance or support;
     c. Debts for most student loans;
     d. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;
     e. Debts for personal injuries or death caused by the debtor?s operation of a motor vehicle while intoxicated;
     f. Some debts which were not properly listed by the debtor;
     g. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
        discharged;
     h. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
        compliance with the Bankruptcy Code requirements for reaffirmation of debts.



This information is only a general summary of the bankruptcy discharge. There are exceptions to these general rules.
Because the law is complicated, you may want to consult an attorney to determine the exact effect of the discharge in
this case.
